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                     1    MORGAN, LEWIS & BOCKIUS LLP
                          Barbara J. Miller, State Bar No. 167223
                     2    Alejandro D. Szwarcsztejn, State Bar No. 272371
                          P. Bartholomew Quintans, State Bar No. 308085
                     3    600 Anton Boulevard, Suite 1800
                          Costa Mesa, CA 92626-7653
                     4    Tel: +1.714.830.0600
                          Fax: +1.714.830.0700
                     5    barbara.miller@morganlewis.com
                          david.szwarcsztejn@morganlewis.com
                     6    bart.quintans@morganlewis.com
                     7    Attorneys for Defendant
                          GOLDEN STATE FC LLC
                     8

                     9                              UNITED STATES DISTRICT COURT
                    10                            CENTRAL DISTRICT OF CALIFORNIA
                    11

                    12

                    13    MAUREISHA CARTER, on behalf of               Case No. 5:18-cv-01111
                          herself and all others similarly situated,
                    14    and on behalf of the general public,         DEFENDANT GOLDEN STATE
                                                                       FC, LLC’S NOTICE OF
                    15                           Plaintiff,            REMOVAL
                    16                     vs.                         Action Filed:   April 9, 2018
                    17    GOLDEN STATE FC, LLC, a Delaware             [28 U.S.C. §§ 1332, 1441, and 1446]
                          Limited Liability Company, and DOES
                    18    1 through 10, inclusive,
                    19                           Defendants.
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                     1             TO THE CLERK OF THE CENTRAL DISTRICT OF CALIFORNIA
                     2    AND TO PLAINTIFF AND HER COUNSEL OF RECORD:
                     3             PLEASE TAKE NOTICE THAT Defendant Golden State FC, LLC
                     4    (“Defendant”), by and through counsel, removes the above-entitled action to this
                     5    Court from the Superior Court of the State of California, County of Riverside,
                     6    pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, and the following grounds.
                     7    I.       PROCEDURAL BACKGROUND
                     8             On April 9, 2018, Plaintiff Maureisha Carter (“Plaintiff”) filed an unverified
                     9    putative class and representative action complaint in the Superior Court of the State
                    10    of California, County of Riverside, entitled MAUREISHA CARTER, on behalf of
                    11    herself and all others similarly situated, and on behalf of the general public,
                    12    Plaintiff, vs. GOLDEN STATE FC, LLC, a Delaware Limited Liability Company,
                    13    and DOES 1 through 10, inclusive, Defendants., Case No. RIC1806959.
                    14             On April 24, 2018, Plaintiff served copies of the Complaint, Summons, and
                    15    Civil Case Cover Sheet on the registered agent for Defendant. Copies of these
                    16    documents are attached hereto as Exhibit A. On May 24, 2018, Defendant filed an
                    17    answer to the Complaint in Riverside County Superior Court. A copy of this
                    18    document is attached hereto as Exhibit B. Exhibits A and B constitute all of the
                    19    pleadings, process, and orders served upon, or by, Defendant in the Superior Court
                    20    action.
                    21             Plaintiff’s Complaint states, “This is a Class and Representative Action,
                    22    pursuant to Code of Civil Procedure § 382.” Compl. ¶ 1. Plaintiff alleges that she
                    23    “was employed by Defendants as a non-exempt, hourly employee in California.”
                    24    Id. ¶ 6. On behalf of herself and “all [of Defendant’s] employees in California,”
                    25    “proposed Plaintiff Class,” “California employees” and/or a “California Class” (see
                    26    id. ¶¶ 2-4, 11-14), Plaintiff alleges various violations of the California Labor Code,
                    27    collected together under one “First Cause of Action.” See id. at 3. Plaintiff alleges
                    28    violations of Labor Code section 226.7 for failure to authorize or permit rest
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                     1    periods (“rest period claim”); Labor Code sections 201-203 for failure to pay wages
                     2    due at the time of discharge (“waiting-time claim”); and Labor Code section 226(a)
                     3    for failure to provide itemized wage statements (“wage statement claim”). See
                     4    Compl. at 3-6.
                     5             For her rest period claim, Plaintiff requests “compensatory damages” for
                     6    “Plaintiff and members of the California Class” for a four-year period. Id. at 6,
                     7    Prayer for Relief ¶ 3.
                     8             For her waiting-time claim under Labor Code section 203, Plaintiff requests
                     9    statutory penalties under that section pursuant to of thirty days’ wages for “all
                    10    members of the California class who are no longer employed by Defendants.” Id.
                    11    ¶ 1.
                    12             For her wage statement claim under Labor Code section 226(a), Plaintiff
                    13    requests statutory penalties pursuant to Labor Code section 226(e). Id. ¶ 2.
                    14             For other alleged “violations of the Labor Code as described [in the
                    15    Complaint],” Plaintiff requests civil penalties pursuant to the California Private
                    16    Attorneys General Act (“PAGA”), Labor Code section 2698 et seq. Id. ¶ 4.
                    17             Plaintiff also requests attorneys’ fees, costs, and pre- and post-judgment
                    18    interest. Compl. at 6, Prayer for Relief, ¶¶ 5-7.
                    19    II.      REMOVAL IS TIMELY
                    20             Plaintiff served the registered agent for Defendant on April 24, 2018.
                    21    Because this Notice of Removal is filed within thirty days of service of the
                    22    Summons and Complaint, it is timely under 28 U.S.C. §§ 1446(b) and 1453. See
                    23    Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999). No
                    24    previous Notice of Removal has been filed or made with this Court for the relief
                    25    sought herein.
                    26    III.     THIS COURT HAS ORIGINAL SUBJECT MATTER JURISDICTION
                                   UNDER CAFA
                    27

                    28             Plaintiff brings this action as a putative class action. See Compl. ¶¶ 1, 2-4,
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                     1    11-14 (alleging a class action under California Code of Civil Procedure section 382,
                     2    and purporting to represent “all [of Defendant’s] employees in California,” a
                     3    “proposed Plaintiff Class,” “California employees” and/or a “California Class”).
                     4    Removal based on diversity jurisdiction under the Class Action Fairness Act
                     5    (“CAFA”) is proper pursuant to 28 U.S.C. §§ 1441, 1446, and 1453 because (i) the
                     6    amount placed in controversy by the Complaint exceeds, in the aggregate, $5
                     7    million, exclusive of interest and costs; (ii) the aggregate number of putative class
                     8    members is 100 or greater; and (iii) diversity of citizenship exists between one or
                     9    more plaintiffs and one or more defendants. 28 U.S.C. §§ 1332(d)(2),
                    10    1332(d)(5)(B), and 1453. Defendant denies Plaintiff’s allegations and denies that
                    11    Plaintiff, or the class she purports to represent, is entitled to the relief requested;
                    12    however, based on Plaintiff’s allegations in the Complaint and her prayer for relief,
                    13    all requirements for jurisdiction under CAFA have been met. Accordingly,
                    14    diversity of citizenship exists under CAFA and this Court has original jurisdiction
                    15    over this action pursuant to 28 U.S.C. § 1332(d)(2).1
                    16             A.      The Putative Class Has More Than 100 Members.
                    17             Plaintiff asserts claims on behalf of a “proposed” class comprised of “all [of
                    18    Defendant’s] employees in California,” or “California employees” of Defendant.
                    19    Compl. ¶¶ 2-4, 11-14. Plaintiff specifically alleges a limitations period of “at least
                    20    four (4) years prior to the filing of this action.” Id. ¶ 2; see also Comp. at 6, Prayer
                    21    for Relief ¶ 3 (seeking four years of compensatory damages for the class). Based
                    22
                          1
                            Defendant does not concede, and reserves the right to contest at the appropriate
                    23    time, Plaintiff’s allegations that this action can properly proceed as a class action.
                          Defendant does not concede that any of Plaintiff’s allegations constitute a cause of
                    24    action against it under applicable California law. Defendant notes specifically that
                          the Complaint’s class allegations are vague, incomplete, and procedurally defective.
                    25    For purposes of establishing jurisdiction under CAFA, however, “there is no
                          dispute the present action is a ‘class action’ under CAFA, as the action contains
                    26    class allegations under California Code of Civil Procedure § 382.” Bryant v. NCR
                          Corp., 284 F. Supp. 3d 1147, 1150 (S.D. Cal. 2018) (denying motion to remand);
                    27    Diaz v. A & R Logistics, Inc., No. 15CV0520 DMS RBB, 2015 WL 3464450, at *1
                          (S.D. Cal. May 29, 2015) (same).
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                     1    on Plaintiff’s definition, the putative class consists of at least 50,000 non-exempt,
                     2    hourly-paid employees who worked for Golden State between April 9, 2015,2 and
                     3    April 9, 2018. Declaration of Peter Nickerson (“Nickerson Decl.”) ¶¶ 3-4.
                     4             B.      Diversity of Citizenship Exists.
                     5             To satisfy CAFA’s diversity requirement, a party seeking removal need only
                     6    show that minimal diversity exists; that is, that one putative class member is a
                     7    citizen of a state different from that of one defendant. 28 U.S.C. § 1332(d)(2);
                     8    United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv.
                     9    Workers Int’l Union, AFL-CIO, CLC v. Shell Oil Co., 602 F.3d 1087, 1090-91 (9th
                    10    Cir. 2010) (finding that to achieve its purposes, CAFA provides expanded original
                    11    diversity jurisdiction for class actions meeting the minimal diversity requirement
                    12    set forth in 28 U.S.C. § 1332(d)(2)).
                    13             “An individual is a citizen of the state in which he is domiciled . . . .” Boon
                    14    v. Allstate Ins. Co., 229 F. Supp. 2d 1016, 1019 (C.D. Cal. 2002) (citing Kanter v.
                    15    Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001)). For purposes of diversity
                    16    jurisdiction, citizenship is determined by the individual’s domicile at the time that
                    17    the lawsuit is filed. Lew v. Moss, 797 F.2d 747, 750 (9th Cir. 1986). Plaintiff states
                    18    that she is a resident of California. Compl. ¶ 6. The Complaint does not allege any
                    19    alternate state citizenship. Therefore, Plaintiff is a citizen of California for
                    20    diversity-jurisdiction purposes. Moreover, Plaintiff brings claims on behalf of
                    21    putative class members residing in California. Thus, at least one putative class
                    22    member is a citizen of California for diversity jurisdiction purposes.
                    23             Pursuant to 28 U.S.C. § 1332, an unincorporated association or corporation is
                    24    deemed to be a citizen of the state where it has its principal place of business and
                    25

                    26    2
                            Although Plaintiff asserts a four-year limitations period, Defendant utilizes a
                    27    three-year period for purposes of establishing the amount in controversy, because as
                          discussed below, his claims under Labor Code sections 203 and 226.7 carry three-
                    28    year limitations periods.
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                     1    under whose laws it is incorporated or organized. 28 U.S.C. § 1332(d)(10); see
                     2    also Ferrell v. Express Check Advance of Georgia, 591 F.3d 698, 704 (4th Cir.
                     3    2010) (holding that a limited liability company qualifies as an “unincorporated
                     4    association” under Section 1332(d)(10) for purposes of CAFA removal);
                     5    Marroquin v. Wells Fargo, LLC, 2011 WL 476540, at *2 (S.D. Cal. Feb 3, 2011)
                     6    (same). Golden State is organized under the laws of Delaware, and has its principal
                     7    place of business in Seattle, Washington. Declaration of Andrew Moriarty ¶¶ 3-4.
                     8    Accordingly, Golden State is a citizen of Washington for the purposes of
                     9    determining diversity. 28 U.S.C. § 1332(c) & (d)(10).
                    10             Therefore, based on the Complaint, at least one member of the putative
                    11    plaintiff class is a citizen of a state different than at least one defendant. As a result,
                    12    diversity jurisdiction exists under CAFA. 28 U.S.C. § 1332(d)(2)(A) (requiring
                    13    only “minimal diversity” under which “any member of a class of plaintiffs is a
                    14    citizen of a State different from any Defendant”).
                    15             C.      The Amount In Controversy Exceeds $5,000,000.
                    16             Pursuant to CAFA, the claims of the individual members in a class action are
                    17    aggregated to determine if the amount in controversy exceeds $5,000,000, exclusive
                    18    of interest and costs. 28 U.S.C. § 1332(d)(6). Because Plaintiff does not expressly
                    19    plead a specific amount of damages, a removing party need only show that it is
                    20    more likely than not that the amount in controversy exceeds $5 million. See Singer
                    21    v. State Farm Mut. Auto. Ins. Co., 116 F.3d 373, 376 (9th Cir. 1997). Defendant’s
                    22    burden to establish the amount in controversy is by a preponderance of the
                    23    evidence. Dart Cherokee Basin Operating Company, LLC v. Owens, 135 S.Ct. 547
                    24    (2014); see also Jordan v. Nationstar Mortg., LLC, 781 F.3d 1178, 1183 (9th Cir.
                    25    2015) (citing Dart Cherokee for the proposition that there is no anti-removal
                    26    presumption against CAFA cases). A removing party seeking to invoke CAFA
                    27    jurisdiction “need include only a plausible allegation that the amount in controversy
                    28    exceeds the jurisdictional threshold.” Dart Cherokee, 135 S.Ct. at 554. “If a
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                     1    federal court is uncertain about whether ‘all matters in controversy’ in a purported
                     2    class action ‘do not in the aggregate exceed the sum or value of $5,000,000,’ the
                     3    court should err in favor of exercising jurisdiction over the case.” Senate Judiciary
                     4    Report, S. REP. 109-14, at 42 (2005) (citation omitted).
                     5             A removing defendant is “not required to comb through its records to identify
                     6    and calculate the exact frequency of violations.” Oda, et al. v. Gucci Am., Inc.,
                     7    2015 U.S. Dist. LEXIS 1672, at *12 (C.D. Cal. Jan. 7, 2015); see Sanchez v.
                     8    Russell Sigler, Inc., 2015 WL 12765359, *2 (C.D. Cal. April 28, 2015) (“[A]
                     9    removing defendant is not obligated to research, state and prove the plaintiff’s
                    10    claims for damages.”) (citation omitted). See also LaCross v. Knight
                    11    Transportation Inc., 775 F.3d 1200, 1203 (9th Cir. 2015) (rejecting plaintiff’s
                    12    argument for remand based on the contention that the class may not be able to
                    13    prove all amounts claimed: “Plaintiffs are conflating the amount in controversy
                    14    with the amount of damages ultimately recoverable.”); Ibarra v. Manheim Invs.,
                    15    Inc., 775 F.3d 1193, 1198 n.1 (9th Cir. 2015) (noting that in alleging the amount in
                    16    controversy, defendants “are not stipulating to damages suffered, but only
                    17    estimating the damages in controversy”). The ultimate inquiry is what amount is
                    18    put “in controversy” by the plaintiff’s complaint, not what a defendant will actually
                    19    owe. LaCross, 775 F.3d at 1202 (internal citation omitted) (explaining that courts
                    20    are directed “to first look to the complaint in determining the amount in
                    21    controversy.”). “In determining the amount in controversy, the Court accepts the
                    22    allegations contained in the complaint as true and assumes the jury will return a
                    23    verdict in the plaintiff's favor on every claim.” Henry v. Cent. Freight Lines, Inc.,
                    24    692 F. App’x 806, 807 (9th Cir. 2017). Moreover, “the amount in controversy is
                    25    determined by the complaint operative at the time of removal and encompasses all
                    26    relief a court may grant on that complaint if the plaintiff is victorious.” Chavez v.
                    27    JPMorgan Chase & Co., 888 F.3d 413, 414-15 (9th Cir. 2018) (emphasis added).
                    28             Under Dart Cherokee, a removing defendant is not required to submit
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                     1    evidence in support of its removal allegations. Roa v. TS Staffing Servs., Inc., No.
                     2    2:14-CV-08424-ODW, 2015 WL 300413, at *2 (C.D. Cal. Jan. 22, 2015).
                     3    However, as detailed below, Defendant has established by a preponderance of the
                     4    evidence that the amount in controversy exceeds $5 million and that the Court has
                     5    jurisdiction pursuant to CAFA. See, e.g., Gallegos v. Atria Mgmt. Co., LLC, Case
                     6    No. 5:16-cv-00888, 2016 U.S. Dist. LEXIS 104323, at *4-5 (C.D. Cal. Aug. 4,
                     7    2016) (denying remand and holding calculations for the purposes of CAFA removal
                     8    to be grounded in “reasonable assumptions” where the defendant’s Director of
                     9    Payroll multiplied the number of employees by workweeks and average rates of pay
                    10    to calculate meal period and rest break claims). As discussed below, when the
                    11    claims of the putative class members in the present case are aggregated, their claims
                    12    put into controversy over $5 million in potential damages. 28 U.S.C. § 1332(d)(2).
                    13             Defendant denies Plaintiff’s factual allegations and denies that she or the
                    14    class she seeks to represent is entitled to the relief for which she has prayed.
                    15    Defendant properly complied with the Labor Code provisions at issue at all relevant
                    16    times. Plaintiff’s allegations and prayer for relief, however, have “more likely than
                    17    not” put into controversy an amount that exceeds the $5 million threshold when
                    18    aggregating the claims of the putative class members as set forth in 28 U.S.C.
                    19    § 1332(d)(6).3
                    20
                          3
                    21      This Notice of Removal discusses the nature and amount of damages placed at
                          issue by Plaintiff’s Complaint. Defendant’s references to specific damage amounts
                    22    and citation to comparable cases are provided solely for establishing that the
                    23    amount in controversy is more likely than not in excess of the jurisdictional
                          minimum. Defendant maintains that Plaintiff’s claims is without merit and that
                    24    Defendant is not liable to Plaintiff or any putative class member. Defendant
                    25    expressly denies that Plaintiff or any putative class member are entitled to recover
                          any of the amounts or penalties sought in the Complaint. In addition, Defendant
                    26    denies that liability or damages can be established on a classwide basis. No
                    27    statement or reference contained herein shall constitute an admission of liability or
                          a suggestion that Plaintiff will or could actually recover any damages based upon
                    28    the allegations contained in the Complaint or otherwise. “The amount in
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                     1                     1.   Plaintiff’s Claim for Waiting-Time Penalties Under Labor
                                                Code § 203 Puts At Least $7,050,000 In Controversy.
                     2

                     3             A claim for waiting-time penalties under Labor Code section 203 has a three-
                     4    year statute of limitations. See Brewer v. General Nutrition Corp., 2015 WL
                     5    5072039, at *13 (citing Pineda v. Bank of Am., 50 Cal. 4th 1389, 1401-02 (2010)).
                     6    The penalty under section 203 is measured at the employee’s daily rate of pay and
                     7    is calculated by multiplying the daily wage by the number of days that the
                     8    employee was not paid, up to a maximum of 30 days’ wages. See, e.g., Ming-
                     9    Hsiang Kao v. Joy Holiday, 12 Cal. App. 5th 947, 963 (2017).
                    10             Plaintiff alleges that she “worked without ever receiving” a rest period, and
                    11    that “when Plaintiff’s employment with Defendants ended, Defendant failed to pay
                    12    Plaintiff premium compensation that Plaintiff was owed for missing her rest
                    13    breaks.” Compl. ¶ 29 (emphasis added). Plaintiff seeks “penalties pursuant to
                    14    Labor Code § 203 for all members of the California class who are no longer
                    15    employed by Defendants . . . .” Compl. at 6, Prayer for Relief ¶ 1 (emphasis
                    16    added).
                    17             Since April 9, 2015, the employment of at least 50,000 employees of Golden
                    18    State in California who would fall into Plaintiff’s putative class description has
                    19    ended. Nickerson Decl. ¶ 5. The lowest wage per hour of those employees at the
                    20    time their employment with Golden State was terminated was approximately
                    21    $11.75 per hour. Id. Plaintiff’s allegations on their face would apply to every
                    22    employee, because Plaintiff alleges she did not “ever” receive a rest period and that
                    23    that Defendant never paid her the compensation she was due for such unprovided
                    24    rest periods—thus, all similarly situated employees would be owed waiting-time
                    25    penalties. Even setting aside such allegations, for purposes of establishing the
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                    27    controversy is simply an estimate of the total amount in dispute, not a prospective
                          assessment of [Defendant’s] liability.” Lewis v. Verizon Communs., Inc., 627 F.3d
                    28    395, 400 (9th Cir. 2010).
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                     1    amount in controversy, “a 25% violation rate would be a conservative and
                     2    reasonable assumption” where a plaintiff only generally alleges the defendant had
                     3    “a practice and/or policy” of not providing paid rest breaks. See Varsam v. Lab.
                     4    Corp. of Am., No. 14-cv-2719 BTM (JMA), 2015 WL 4199287, at *3 (S.D. Cal.
                     5    July 13, 2015). Assuming even more conservatively yet, for present purposes, that
                     6    only 10% of Plaintiff’s putative class was not provided compliant rest periods and
                     7    owed wages as a result, and thus was improperly withheld wages upon termination,
                     8    and applying the minimum hourly wage earned of $11.75 per hour and a minimum
                     9    daily shift of four hours, Plaintiff’s claim for waiting-time penalties still places at
                    10    least $7,050,000 in controversy: (5,000 putative class members, which is 10% of
                    11    the 50,000 employees potentially at issue, x 4 hours per work day of daily wages x
                    12    $11.75 per hour x 30 days = $7,050,000).
                    13                     2.   Plaintiff’s Rest Break Claim Puts At Least $7,350,000 In
                                                Controversy
                    14

                    15             Plaintiff seeks “compensatory damages in the amount of one hour of wages
                    16    for each day on which a rest period was not properly provided to Plaintiff and
                    17    members of the California Class, and compensation in lieu thereof was not paid,
                    18    from the date at least four years prior to the filing of this action,” or April 9, 2014.
                    19    Compl. at 6, Prayer for Relief ¶ 3 (emphasis added). A claim for rest break
                    20    premiums under Labor Code section 226.7, based on an argument that rest breaks
                    21    were not provided, carries a three-year statute of limitations. Murphy v. Kenneth
                    22    Cole Productions, Inc., 40 Cal.4th 1094 (2007). Since April 9, 2015, therefore,
                    23    Golden State employees working at Fulfillment Centers (like Plaintiff did) have
                    24    worked over seven million shifts of at least four hours. Nickerson Decl. ¶ 6. The
                    25    minium hourly wage paid over any of these shifts was approximately $10.50. Id.
                    26    Assuming only a 10% violation rate, Plaintiff’s claim for rest break wages places at
                    27    least $7,350,000 in controversy: that is, 700,000 shifts multiplied by the $10.50
                    28    minimum value of one hour of pay.
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                     1                     3.   Plaintiff’s Other Claims and Request for Attorneys’ Fees
                                                Put Additional Amounts in Controversy, Further Exceeding
                     2                          the CAFA Threshold.
                     3             As shown above, using an assumed violation rate even more limited than that
                     4    endorsed by another court as “conservative” and “reasonable,” Defendant has
                     5    shown that Plaintiff’s rest break claim and his waiting-time penalties claim each
                     6    independently exceed the CAFA threshold by placing more than $5,000,000 in
                     7    controversy. Defendant has demonstrated this amount by a preponderance of the
                     8    evidence, as presented with this Notice of Removal. However, in addition to this
                     9    amount, Plaintiff also seeks recovery of “penalties pursuant to Labor Code §§
                    10    226(e) [sic] for members of the Class,” further increasing the amount in
                    11    controversy. Compl. at 6, Prayer for Relief ¶ 2.
                    12             Plaintiff also seeks recovery of attorneys’ fees. See Compl. at 6, Prayer for
                    13    Relief ¶ 7. Defendant denies Plaintiff’s claim for attorneys’ fees. However,
                    14    attorneys’ fees are properly included in determining the amount in controversy. See
                    15    Guglielmino v. McKee Foods Corp., 506 F.3d 696, 698 (9th Cir. 2007); Brady v.
                    16    Mercedes-Benz USA, Inc., 243 F. Supp. 2d 1004, 1010-11 (N.D. Cal. 2002). See
                    17    also Sasso v. Noble Utah Long Beach, LLC, No. CV 14-09154-AB AJWX, 2015
                    18    U.S. Dist. LEXIS 25921, at *5–6 (C.D. Cal. Mar. 3, 2015) (“The Court believes
                    19    that, when authorized by an underlying statute, the better view is to consider post-
                    20    removal attorneys’ fees because they are part of the total ‘amount at stake.’”)
                    21    (citations omitted); Giannini v. Northwestern Mut. Life Ins. Co., 2012 U.S. Dist.
                    22    LEXIS 60143, at *4 (N.D. Cal. Apr. 30, 2012) (citing to Brady while holding that a
                    23    reasonable estimate of future attorneys’ fees can be used in calculating the amount
                    24    in controversy); Richardson v. Servicemaster Global Holdings Inc., No. C 12-77
                    25    CW, 2009 U.S. Dist. LEXIS 122219, at *4 (N.D. Cal. Dec. 15, 2009) (citing Brady
                    26    favorably to require a showing of attorneys’ fees likely to be incurred to determine
                    27    the amount in controversy); Chavez, 888 F.3d at 414–15 (9th Cir. Apr. 20,
                    28    2018).(“[T]he amount in controversy is determined by the complaint operative at
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                     1    the time of removal and encompasses all relief a court may grant on that complaint
                     2    if the plaintiff is victorious.”) (emphasis added).
                     3             For purposes of removal, the Ninth Circuit uses a benchmark rate of twenty-
                     4    five percent of the potential damages as the amount of attorneys’ fees. See In re
                     5    Quintus Sec. Litig., 148 F. Supp. 2d 967, 973 (N.D. Cal. 2001) (benchmark for
                     6    attorneys’ fees is 25% of the common fund). Courts therefore include a potential
                     7    25% fee award in the CAFA amount in controversy. See, e.g., Sanchez, 2015 WL
                     8    12765359, at *7. Even though Defendant has already demonstrated by a
                     9    preponderance of the evidence that the amount in controversy exceeds $5,000,000,
                    10    Defendant notes that the inclusion of attorneys’ fees would add at least another
                    11    $3,600,000 to the amount in controversy (25% of $14,400,000, the sum of
                    12    $7,050,000 and $7,350,000), bringing the total amount in controversy to at least
                    13    $18,000,000.
                    14    IV.      VENUE
                    15             This action was originally filed in the Superior Court for the County of San
                    16    Riverside. Initial venue is therefore proper in this district, pursuant to 28 U.S.C. §
                    17    1441(a), because it encompasses the county in which this action has been pending.
                    18    V.       NOTICE
                    19             Defendant will promptly serve this Notice of Removal on all parties and will
                    20    promptly file a copy of this Notice of Removal with the clerk of the state court in
                    21    which the action is pending, as required under 28 U.S.C. § 1446(d).
                    22    VI.      CONCLUSION
                    23             Based on the foregoing, Defendant requests that this action be removed to
                    24    this Court. If any question arises as to the propriety of the removal of this action,
                    25    Defendant requests the opportunity to present a brief and oral argument in support
                    26    of its position that this case is subject to removal.
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                     1    Dated: May 24, 2018   MORGAN, LEWIS & BOCKIUS LLP
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                     3                          By /s/ Barbara J. Miller
                                                  Barbara J. Miller
                     4                            Alejandro D. Szwarcsztejn
                                                  P. Bartholomew Quintans
                     5                            Attorneys for Defendant
                                                  GOLDEN STATE FC LLC
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